                          DEPARTMENT OF LAW
                          OFFICE OF THE CORPORATION COUNSEL
                          CITY OF SYRACUSE, MAYOR BEN WALSH



                          September 29, 2022
Susan R. Katzoff
Corporation Counsel       SENT ELECTRONICALLY VIA CM/ECF
                          Hon. Judge Glenn T. Suddaby
Joseph W. Barry III
First Assistant
                          Federal Building and U.S. Courthouse
Corporation Counsel       P.O. Box 7367
                          Syracuse, NY 13261-7367
Lee R. Terry
Senior Assistant                  Re:     Antonyuk, et al. v. Hochul, et al.
Corporation Counsel
                                          Federal Civil Action No. 1:22-cv-00986 (GTS/CFH)
Todd M. Long
Senior Assistant          Dear Judge Suddaby:
Corporation Counsel

Catherine E. Carnrike     On behalf of the City of Syracuse and Chief of Police Joseph Cecile—a defendant in the
Meghan E. Ryan            above-referenced action (“Action”)—I apologize for the lack of appearance by this office
Amanda R. Harrington      at this morning’s oral argument before Your Honor, as well as a lack of a timely response
John C. Black Jr.         to Plaintiff’s motion for a temporary restraining order (see Dkt. No. 8).
Ramona L. Rabeler
Sarah M. Knickerbocker
Danielle B. Pires         Due to numerous COVID-19 related illnesses in the Office of the Corporation Counsel,
Patrick J. Parkinson      including the Corporation Counsel herself, neither the summons and complaint initiating
Danielle R. Smith         this Action nor the motion for a temporary restraining order (“Motion”) (see Dkt. No. 6)
Zachary A. Waksman
                          were brought to my attention until sometime well after oral argument had commenced
John J. Connor
Gregory P. Fair           this morning. Moreover, the email address utilized by Plaintiffs (law@syrgov.net) is a
Darienn P. Balin          general information email account that is only checked sporadically and informs all
                          senders that “[t]he City does not accept service of papers, process, or any legal
                          communications to this email address.”

                          That being said, in the brief time that I have had to quickly review the Motion by Plaintiffs’
                          counsel, as well as the oppositions by the Office of the Attorney General (see Dkt. No. 18)
Department of Law         and counsel for Sheriff Don Hilton and District Attorney Gregory Oakes, we join our co-
Office of Corp. Counsel   defendants in their resolute position that Plaintiffs’ articulated grounds for an emergency
233 E. Washington St.     temporary restraining order are without merit.
City Hall, Room 300
Syracuse, N.Y. 13202
                          Thank you for your consideration.
Office 315 448-8400
Fax 315 448-8381          Respectfully submitted,
Email law@syrgov.net
                          /s/Todd M. Long
www.syrgov.net            Todd M. Long, Esq.
                          Senior Assistant Corporation Counsel

                          CC:     All counsel of record electronically via CM/ECF




                                           Service of papers or process by facsimile or other electronic method is not acceptable.
